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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA               ]
                                       ]
      v.                               ]            1:21-cr-00304-DLF-1
                                       ]
JASON RIDDLE                           ]
                                       ]


                        SENTENCING MEMORANDUM
      The defendant, Jason Riddle, by and through his counsel, Eric Wolpin, hereby
files this sentencing memorandum respectfully asking that the Court sentence him
to a total of thirty months of probation, $754.00 restitution, and sixty hours of
community service. This proposed sentence falls within the Guideline sentencing
range and is sufficient but not greater than necessary to meet the purposes of
sentencing provided in 18 U.S.C. § 3553(a)(2) for the reasons set forth below.


I.    Introduction
      Jason is a military veteran in his late thirties. He is married and lives in New
Hampshire. He has no criminal record. A supporter of then-President Trump, Jason
traveled to Washington D.C. in January 2021 to see him speak. He expected to
witness a presidential speech before traveling to a friend’s house outside of
Washington D.C. As the speech ended, Jason moved along with a sea of people
walking toward the Capitol. After others forced open the Capitol doors, Jason entered
the building and remained inside for fourteen minutes. He drank wine and walked
out with a book. When Federal Bureau of Investigation (FBI) agents appeared at his
home weeks later, Jason truthfully explained his actions and observations. He
provided FBI agents with his phone. The multimedia files and communications it
contained were consistent with statements he made to the FBI.
      On January 6, 2021, Jason acted impulsively, but not violently. He violated the
law and has pled guilty to two misdemeanors that will forever remain upon his

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criminal record. In the year that has followed, Jason has been law-abiding and done
nothing to suggest that he intends to steal, harm others, or unlawfully disrupt
government administration. While on supervision, Jason has addressed a long-
standing issue with alcohol and has remained employed. Considering his actions on
January 6, 2021, as well as his circumstances and history, a sentence of probation,
accompanied by community service and restitution, is “sufficient, but not greater
than necessary,” to achieve the statutory purposes of sentencing.


II.   Framework for the Sentencing Analysis.
      Jason pled guilty to two misdemeanors. ECF Doc. 8 at 2-3 (Information); ECF
Doc. 21 at 1 (Plea Agreement). The presentence report (PSR) concludes that Jason
has no scoreable criminal record and falls within Criminal History Category I. PSR
¶¶ 44-45; Plea Agreement at 3-4. The PSR calculates a total offense level of four for
count three after applying a two-point reduction for acceptance of responsibility per
U.S.S.G. § 3E1.1. PSR ¶¶ 39-42, 94. Count three has a Guideline sentencing range of
zero to six months within Zone A. PSR ¶¶ 39-42, 94. The Guidelines do not govern
count five. PSR ¶ 95. The Defense has no objection the Guideline range as calculated
in the PSR. PSR ¶ 94. As the Guideline range is at its lowest point (zero to six
months), the Defense does not seek a downward departure. Similarly, as the
Guideline range of zero to six months is within Zone A, the Defense’s request for a
probationary sentence does not require a variance.
      As the Court is aware, the United States Sentencing Guidelines are merely
advisory, and courts are required to consider all factors listed in 18 U.S.C. § 3553(a)
when imposing sentence. Gall v. United States, 552 U.S. 38, 53 (2007); United States
v. Booker, 543 U.S. 220, 262 (2005). The paramount directive in 18 U.S.C. §3553(a) is
that the Court must impose a sentence that is “sufficient, but not greater than
necessary,” to achieve the purposes underlying the sentencing statute. 18 U.S.C. §
3553(a). For the reasons discussed in greater detail below, considering the nature and
circumstances of the offense, Jason’s history and characteristics, the purposes of



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sentencing, 18 U.S.C. § 3553(a)(2), and all other sentencing considerations set forth
in 18 U.S.C. § 3553(a), a probationary sentence is warranted.


III.      Military Service, Family Life, and Employment History.
          Jason joined the Navy in 2007 at eighteen years old. A Navy “Evaluation
Report and Counseling Record” from July 2008 described Jason as “My Top MP in
Operation Department” and “A Future Petty Officer in the Making, Ready for
Advancement Today!” 1 The same record identifies Jason as having “unlimited
potential for professional growth.” Jason’s military records explained that he
“consistently volunteers for additional tasks and pays particular attention to detail,”
“[h]is optimistic and energetic enthusiasm promotes high morale and a positive
atmosphere,” and he has “[e]xceled at every task given thus far.” A similar record
from October 2008, described Jason as a “[h]ighly motivated” “[m]eticulous
professional,” who “[e]xemplifies teamwork.” While in the Navy, Jason won the
“Global War on Terrorism Service Medal” and the “Navy Corp Achievement Medal,”
among other accolades.
          In 2008, Jason was honorably released from active duty to the naval reserves
in light of reoccurring struggles with alcohol use. In 2011, the Navy Reserve
conditionally released Jason to the Army Reserve. Jason served with the Army
Reserve from 2011 until 2016. In total, between the Navy, Navy reserves, and Army
reserves, Jason served nine years in our country’s military. Jason remains eligible for
veteran’s benefits and recently began receiving benefits through the Veterans
Administration.
          Upon release from the military, Jason, a Connecticut native, relocated to
southern New Hampshire with his husband. Jason worked at various restaurants in
the area before serving as a corrections officer in Vermont and New Hampshire. He
then worked for the post office in New Hampshire. As Jason’s childhood friend
Anthony Ruggiero noted in the attached letter, Jason has a consistent work ethic,


1   Jason’s military records were provided to United States Probation in support of the PSR.

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often working multiple jobs, and “never go[ing] a day without working.” Exhibit A.
More recently, Jason has worked for restaurants and delivery companies as a stocker
and driver. As he has done throughout his life, Jason has remained employed during
the pendency of this case and intends to continue to do so at its conclusion. In addition
to work, Jason has a consistent interest in furthering his education. He has been
taking graduate classes this semester as he considers a new career path.
      The attached letter from Jason’s husband describes Jason’s personality and
nature—boisterous and occasionally abrasive on the surface, but thoughtful and
caring at his core. See Exhibit B (noting that “[b]eneath the bravado, charisma, and
loudmouth is a man with a good heart.”). Similarly, Anthony describes Jason as loyal,
caring, and hardworking. Exhibit A. Jason’s childhood and early adulthood were rife
with family struggles. Anthony explained Jason’s tumultuous decision to come out
publicly as gay, first to him, and then to others, in his twenties. See Id. (“When he
finally came out you could see pressure taken off him, and a couple years later I was
standing next to him at his wedding when he married Bobby.”). Both Jason’s husband
and his friend noted Jason’s battle with depression and his efforts to cope with
difficult events from his childhood. Id. (“Jason has battled depression his entire life
due to childhood trauma.”); Exhibit B (describing past alcohol use as “a coping
mechanism for childhood trauma and a way to deal with emotions and situations he
wasn’t yet ready to handle”). Both letters paint a picture of Jason as a loyal, animated,
and hard-working.


IV.   Struggles with Alcohol, Current Sobriety from Alcohol,                        and
      Compliance with Pretrial Release Treatment Conditions.
      Jason has struggled with alcohol as an adult. While this case was pending, a
friend and fellow corrections officer committed suicide. Jason became despondent
and, among other things, went to his deceased friend’s former home while inebriated
and made statements about self-harm. That situation led this Court to impose a
breathalyzer condition—monitored by United States Probation in New Hampshire—
that has been in effect for five months. Since the imposition of this condition, Jason

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has maintained his sobriety from alcohol but for one admitted relapse in December
2021. Jason’s significant progress while on supervision is summarized in United
States Probation’s March 24, 2022, pretrial status report. ECF Doc. 30. Additionally,
per release conditions imposed upon Jason’s arrest on this charge in February 2021,
he has been attending regular counseling sessions with a local mental health
provider. PSR ¶ 64. Jason has succeeded with these interventions and his compliance
with their requirements demonstrates a willingness and ability to comply with
conditions of supervision.


V.    Offense Conduct.
      Jason has had a longstanding interest in politics. After his time in the military,
Jason earned a Bachelor of Arts in Political Science from a Connecticut University.
While in New Hampshire, Jason engrossed himself in the local political scene. As a
result of its first in the nation primary status, New Hampshirites routinely hear from
and meet with visiting politicians pursuing national office. Jason followed candidate
and then-President Trump and attended his political events. Jason was not and has
never been a part of a political group that advocated for violence or employed violent
rhetoric. Jason’s primary political affiliation was with a small, local, rural group of
gay New Hampshire Republicans.
      Jason traveled south in January 2021 with two friends. The plan coalesced
around a visit to a home owned by Jason’s friend south of Washington D.C. The trip
was not organized by a larger group. Jason was not part of a caravan or a chartered
bus. The plan was to pass thorough Washington D.C., spend the night, attend a final
Trump speech, and travel to Jason’s friend’s house. Jason brought no accoutrements
of violence (zip ties, body armor, OC spray, etc.) with him. His only expectation for
January 6, 2021, was to see President Trump speak. As Jason explained to the FBI
later that month, he “did not expect the rally to change anything as far as the election
results, but he wanted to show his support for the President. Jason had not planned




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to take part in any illegal activities and did not coordinate or receive instructions
from anyone or any groups.” 2
       A miscommunication with an rideshare driver on the morning of January 6,
2021, led Jason and his friends to arrive late to Trump’s speech. Jason heard little of
the speech, but found a mass of people, many in Trump regalia, moving in the
direction of the Capitol Building. People were shouting and using megaphones,
urging folks to “keep moving forward.” Jason separated from his friends and
continued with the crowd toward the Capitol. Jason stopped for about a half-hour at
a small, grassy patch near the building’s front door. He filmed those around him and
called a family member to describe the scene. Jason was alone. He was not urging
others to act and remained a passive observer. He saw others break windows and
open the building’s doors. After an initial rush of people entered, Jason walked into
the Capitol.
       Once in the building Jason, walked into an office. He opened a bottle of wine
and drank some of its contents. He took a book. He had no particular interest or
motivation to do so; the book, as he explained to the FBI, was “like a dictionary” and
his decision to take it was impulsive. While in the office, a law enforcement officer
appeared and told Jason to finish his wine and leave the room. Jason complied with
the officer’s request. Jason searched for an exit and left the building. Government
surveillance footage (a “trace”) shows Jason entering the Capitol at 2:47 p.m. and
leaving at 3:01 p.m. In total, Jason was inside the Capitol for about fourteen minutes.
Upon leaving the building, Jason spoke to a stranger and exchanged the book for
$40.00. Jason reconnected with his friends, and they traveled to their planned
destination.


VI.    Jason’s Interactions with FBI Investigators.
       The FBI visited Jason’s home in New Hampshire later that month. Jason told
the FBI about the events of January 6 , 2021, in much the same form described above.

2 All quotations from this section are taken from an FBI 302 drafted on January 25, 2021, provided
to the Defense in Discovery.

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He acknowledged entering the building, drinking wine, and taking a book. Jason
explained to the FBI that he took pictures and videos on January 6, 2021, but that he
had taken down or deleted some messages and multimedia from his trip “during a
‘delete frenzy,’ since he was worried about his husband seeing everything.” As noted
by the FBI, Jason was able to “find most of [the messages, photos, and videos] in some
form, whether on the phone, in Facebook Messenger, or in text messages sent to
others,” to provide to law enforcement. Jason consented to the FBI taking his phone
for review and analysis. The photos and video on the phone were consistent with
Jason’s recounting of the day’s events to the agents.
        Near the end of the interview, The FBI asked Jason “if he would have done
anything differently, Riddle said he would have ‘just stayed away from the building.’”
As described by the FBI, he “reiterated that he originally only thought he was going
to attend a rally for President Trump at the White House, but then, people began
directing everyone towards the Capitol. When asked if he believed people intended to
disrupt the election certification process, Riddle said he, ‘didn’t even know what was
going on inside until afterwards.’”


VII.    Misdemeanor Sentences Imposed by this Court Stemming from
        Conduct on January 6, 2021, Support the Defendant’s Proposed
        Sentence.
       Counsel is aware of nine cases that this Court has sentenced in relation to the
events of January 6, 2021. 3 Although the specific charges may vary, these defendants,
like Jason, pled guilty to misdemeanor level, non-violent offenses. The Court
sentenced the defendants to probationary sentences, with some variation in the
probationary term and the use of home detention:




3 The information included in this chart was gathered from Government filings in other cases and
from contact with the local Public Defender’s Office. These are all such cases known to Counsel at
this time.

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     Defendant                   Docket             Prob. (mo)     Home Det. (mo)
 Wangler, Douglas         1:21-CR-00365-DLF              24                0
 Harrison, Bruce          1:21-CR-00365-DLF              24                0
 Dillon, Brittiany        1:21-CR-00360-DLF              24                3
 Schwemmer, Esther        1:21-CR-00364-DLF              24                0
 McAlanis, Edward         1:21-CR-00516-DLF              24                0
 Williams, Andrew         1:21-CR-00045-DLF              24                0
 Straka, Brandon          1:21-CR-00579-DLF              36                3
 Kostolsky, Jackson       1:21-CR-00197-DLF              36                1
 Walden, Jon              1:21-CR-00548-DLF              36                1


      Although the Court needn’t track prior sentences and must consider
aggravating and mitigating factors unique to each defendant and offense, past
sentences for misdemeanor-level, January 6, 2021, offenders are valuable data points
in crafting an appropriate sentence in this case. 18 U.S.C. § 3553(a)(6) requires that
the Court “consider” “the need to avoid unwarranted sentence disparities among
defendants with similar records who have been found guilty of similar conduct.” 18
U.S.C. § 3553(a)(2) also invokes the “need for the sentence imposed” to, among other
things, “promote respect for the law.” Providing like sentences among like defendants
not only avoids unwarranted sentencing disparities, but promotes respect for the law
as a fair, consistent, and considered mechanism for holding law breakers accountable.
      In each of the above noted cases, the Court considered the particular
circumstances of the defendant’s offense and his or her individualized history. In
many of the cases noted above in which the Court imposed a probationary sentence,
the defendant entered the Capitol aware that violence preceded his or her entry, took
photographs and videos while inside, expressed solidarity with the surrounding
atmosphere, remained in the Capitol, expressed limited “remorse,” and deleted media
files showing his or her involvement. See e.g., United States v. Harrison, 21-CR-
00365-DLF, Gov’t Sent. Memo, ECF Doc. 48, 3-8 (the defendant “saw a violent mob
clashing with law enforcement,” entered the Capitol, recorded a video of his friend
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inside the Capitol pumping his fists and chanting “USA,” posed for photos inside the
Capitol, remained in the Capitol for twenty minutes, and “attempt[ed] to delete videos
and photos he had taken in Washington, D.C., once he saw that people who had
entered the Capitol Building were ‘getting into trouble.’”); United States v. Kostolsky,
21-CR-00197-DLF, Gov’t Sent. Memo, ECF Doc. 41, 1-2 (the defendant scaled a wall
to enter the Capitol, “proudly texted friends that he scaled the wall, got tear gassed,
‘caught a rubber bullet,’” “told one person ‘I had fun’ and the politicians were ‘crawling
in fear,’” “first denied entering the Capitol when talking to the FBI,” and “deleted
videos from his telephone.”); United States v. Williams, 21-CR-0045-DLF, Gov’t Sent.
Memo, ECF Doc. 35, 1-2 (the defendant, a firefighter and EMT, “penetrated deep
inside the U.S. Capitol,” “cheered ‘we’re storming the U.S. Capitol’ while advancing
toward the Capitol Building,” saw broken glass, took pictures and videos inside, and
“his statements in text messages to friends after January 6 reveal[ed] a total lack of
remorse.”).
      Other misdemeanants whom the Court sentenced to probation were involved
in encouraging violence or possessed items indicating the defendant anticipated
violence. See e.g., United States v. Straka, 21-CR-00579-DLF, Gov’t Sent. Memo, ECF
Doc. 36, 1-2 (the defendant “posted a series of messages to his significant number of
social media followers indicating that . . . a civil war had begun, and that “we’re not
going to be peaceful much longer,’” “incit[ed] the crowd by yelling ‘go, go, go,’” and
vocally encouraged rioters to take protective equipment from a law enforcement
officer protecting the Capitol); United States v. Walden, 21-CR-00548-DLF, Gov’t
Sent. Memo, ECF Doc. 24, 1-2 (the defendant, a military veteran, “anticipated and
was prepared for violence by bringing a gas mask to Washington, D.C,” scaled a wall
and entered through a broken window, took videos and photos inside, “chant[ed] with
others ‘traitors, traitors, traitors,’” remained inside for nine minutes, and “showed a
lack of remorse for his conduct by [later] posting to Facebook . . .”).
       The Court accounted for variations in offense seriousness and personal
circumstances by sentencing misdemeanants to shorter or longer terms of probation
and imposing home detention for some defendants. Jason’s conduct and his history

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and characteristics place him on par with defendants that this Court has sentenced
to probation for committing non-violent misdemeanors on January 6, 2021. For
example, Jason has no criminal record; he is a veteran; he committed no violent acts
and spoke no violent rhetoric; he did not urge violence or join in chants inside the
Capitol; he remained in the building for less than fifteen minutes; and, he was honest
with the FBI. Jason’s offense of conviction differs from the Court’s prior
misdemeanants in that that he took a book and wine while in the building. Although
this differentiates his case from others, it does not represent an escalation of behavior
or a heightened degree of dangerousness that would demand a harsher, incarcerative
sanction. Jason pled guilty and accepted responsibility for his conduct. The
defendant’s proposed probationary sentence avoids unwarranted sentencing
disparities among those sentenced by this Court and promotes respect for the law.


VIII. A Sentence of Thirty Months of Probation Satisfies the Sentencing
      Purposes Set Forth in 18 USC § 3553(a)(2) and Is Not Greater Than
      Necessary to Achieve Those Ends.


       In addition to Jason’s personal history, the nature of the offense, and avoiding
unwarranted disparities, the Court must consider the deterrent, punitive, community
protection, and rehabilitative purposes of sentencing as set forth in 18 U.S.C. §
3553(a)(2) to craft a sentence that is sufficient, but not greater than necessary to
achieve those ends. A probationary sentence of thirty months with community
services and restitution strikes the appropriate balance of these sentencing goals and
is not greater than necessary to achieve those ends.
       A conviction, followed by years of supervision and restrictions on personal
freedoms that would subject Jason to imprisonment if violated provides just
punishment in this case. As the Supreme Court noted in Gall v. United States, 552
U.S. 38, 48 (2007), offenders on probation are subject to “conditions that substantially
restrict their liberty.” Gall notes that:
              Probationers may not leave the judicial district, move, or
              change jobs without notifying, and in some cases receiving

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             permission from, their probation officer or the court. They
             must report regularly to their probation officer, permit
             unannounced visits to their homes, refrain from
             associating with any person convicted of a felony, and
             refrain from excessive drinking. USSG § 5B1.3. Most
             probationers are also subject to individual ‘special
             conditions’ imposed by the court. . . . Probation, if violated,
             may result in any . . . sentence that initially could have
             been imposed.

Id.; see United States v. Knights, 534 U.S. 112, 119 (2001) (“Inherent in the very
nature of probation is that probationers ‘do not enjoy the absolute liberty to which
every citizen is entitled.’”). These conditions serve multiple purposes, among them
promoting respect for the law and serving a punitive function. Here, Jason has lived
for the past twelve months under pretrial release conditions that curtail his freedom.
His liberty is conditioned on compliance with court orders and probation directives.
Per this proposed sentence, he will spend an additional thirty months subject to
government observation and court-mandated curtailments of his freedom. He would
remain at risk of incarceration should he be noncompliant. The proposed sentence
“reflect[s] the seriousness of the offense,” “promote[s] respect for the law,” and
“provide[s] just punishment for the offense.” 18 U.S.C. § 3553(a)(2)(A).
      The Court can meet its obligation to specific and general deterrence through a
probationary sentence. Jason does not have a criminal history. He was not in
Washington D.C. on January 6, 2021, with a premeditated intent to break the law.
He has no intent or desire to become court-involved again. His largely compliant
behavior while on pretrial confirmation and lack of new criminal offenses suggests
that supervision can adequately deter Jason from future criminal conduct. As to
general deterrence, these misdemeanor defendants appear before the courts with an
unusual and unprecedented set of circumstances. The public debate as to sentencing
options and general deterrence in these cases has been robust. The Court, as
evidenced by the cases previously cited, has concluded on at least nine past occasions
that broad, general deterrence concerns can be satisfied without imprisonment.



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Concerns about general deterrence can be met here through a conviction and the
imposition of a probationary sentence.
      The Court can satisfy concerns about protecting the public from future crimes
of the defendant and rehabilitative interests, described by statute as the need “to
provide the defendant with needed educational or vocational training, medical care,
or other correctional treatment in the most effective manner,” 18 USC § 3553(a)(2)(D),
through probation. Jason’s lack of criminal history suggests that Jason is not likely
to commit further crimes irrespective of the Court’s sentence. To the extent that
remains in doubt, probation monitoring of his behavior, movement, employment, etc.
over a period of years adequately allays that concern. Although Jason has limited
educational or vocational needs, remaining in the community under conditions that
call for continued counseling services as needed, will provide Jason “medical care” in
the most effective manner. Incarceration is likely to disrupt those services and
undermine the stability they provide. A multi-year sentence of probation is
“sufficient, but not greater than necessary” to meet the ends of sentencing. Id. at §
3553(a). Accordingly, Jason Riddle hereby requests that the Court impose a sentence
of thirty months of Probation, community service, and restitution.


                                               Respectfully submitted,

                                               /s/ Eric Wolpin
                                               Eric Wolpin
                                               N.H. Bar #18372
                                               Assistant Federal Public Defender
                                               Eric_Wolpin @fd.org


                          CERTIFICATE OF SERVICE

       I hereby certify that on March 28, 2022, the above document was served
electronically upon all counsel of record through the CM/ECF filing system.

                                               /s/ Eric Wolpin
                                               Eric Wolpin



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